                           Case 17-11735-reg                    Doc 52          Filed 06/26/19              Page 1 of 13




                                          UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF INDIANA
                                                FORT WAYNE DIVISION

In re:                                                                 §      Case No. 3:17-BK-11735-REG
                                                                       §
RYAN A BRITE                                                           §
                                                                       §
                                                                       §
                            Debtor                                     §

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 09/07/2017. The
        undersigned trustee was appointed on 09/07/2017.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                              $2,468.23

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                      $0.00
                          Administrative expenses                                                                                          $0.00
                          Bank service fees                                                                                               $81.23
                          Other Payments to creditors                                                                                      $0.00
                          Non-estate funds paid to 3rd Parties                                                                             $0.00
                          Exemptions paid to the debtor                                                                                    $0.00
                          Other payments to the debtor                                                                                     $0.00

                          Leaving a balance on hand of1                                                                              $2,387.00

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.


1
  The balance on funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed
pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth
under 11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)
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     6. The deadline for filing non-governmental claims in this case was 01/23/2018 and the deadline
        for filing government claims was 03/07/2018. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $617.06.
        To the extent that additional interest is earned before case closing, the maximum compensation
        may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of $617.06,
for a total compensation of $617.062. In addition, the trustee received reimbursement for reasonable
and necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of
$155.20, for total expenses of $155.20.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 05/21/2019                                                         By:       /s/ Yvette Gaff Kleven
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)
                                            Case 17-11735-reg           Doc 52 Filed 06/26/19                      Page 3 of 13                    Page No:      1
                                                                          FORM 1
                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Exhibit A
                                                                  ASSET CASES
Case No.:                      17-11735-REG                                                         Trustee Name:                               Yvette Gaff Kleven
Case Name:                     BRITE, RYAN A                                                        Date Filed (f) or Converted (c):            09/07/2017 (f)
For the Period Ending:         5/21/2019                                                            §341(a) Meeting Date:                       10/12/2017
                                                                                                    Claims Bar Date:                            01/23/2018

                         1                                2                      3                           4                         5                         6

                 Asset Description                     Petition/         Estimated Net Value             Property                Sales/Funds              Asset Fully
                  (Scheduled and                     Unscheduled        (Value Determined by             Abandoned              Received by the        Administered (FA) /
             Unscheduled (u) Property)                  Value                  Trustee,            OA =§ 554(a) abandon.            Estate               Gross Value of
                                                                       Less Liens, Exemptions,                                                          Remaining Assets
                                                                          and Other Costs)

 Ref. #
1       4894 N 400 W, Decatur, IN                  $62,000.00                       $0.00                   OA                                 $0.00                    FA
        46733-0000, Adams Coun
 Asset Notes:     Value Amended on 10/27/2017; Abandoned per Court Order dated 11/06/2017
2       Cash                                                  $20.00                      $0.00                                                $0.00                    FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 1; Imported from Amended Doc#: 27
3       Checking: IAB                                          $0.00                      $0.00                                                $0.00                    FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 1;
4       Checking: Soya FCU                                     $5.00                      $0.00                                                $0.00                    FA
5       Checking: First Bank of Berne                      $375.00                      $685.13                                             $685.13                     FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 1;
6      Refrigerator, washer/dryer,                      $500.00                         $0.00                                                  $0.00                    FA
       cookware, furniture
Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 1; Imported from Amended Doc#: 27
7       Grill                                              $250.00                        $0.00                                                $0.00                    FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 1;
8       ! Tools for work                                 $1,500.00                        $0.00                                                $0.00                    FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 1; Imported from Amended Doc#: 27; Original asset description: Tools for work
9       | Carpentry tools                                     $20.00                      $0.00                                                $0.00                    FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 1; Imported from Amended Doc#: 27; Original asset description: Carpentry tools
10      j Everyday clothes and coats                       $350.00                        $0.00                                                $0.00                    FA
Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 1; Imported from Amended Doc#: 27; Original asset description: Everyday
                 clothes and coats
11      Guns and ammunition                              $95.00                         $0.00                                             $0.00                         FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 1;
12     Knights of Columbus Whole                         $583.58                       $583.58                                              $583.58                     FA
       Life Policy Account Nu
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 1; Imported from Amended Doc#: 27
13     2009 Ford F150, 118000 miles,                   $7,144.00                         $0.00                                                 $0.00                    FA
       Fair condition. En
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 1; Imported from Amended Doc#: 27
14     1996 Tracker Pro 18, Fishing                      $500.00                          $0.00                                                $0.00                    FA
       boat. Entire proper
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 1;
15      j Flat bed trailer, boat, fishing                $5,000.00                        $0.00                                                $0.00                    FA
        equipment, law
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 1; Imported from Amended Doc#: 27; Original asset description: Flat bed trailer,
                  boat, fishing equipment, lawn
16      2017 tax returns                        (u)         $0.00                    $1,199.52                                        $1,199.52                         FA


TOTALS (Excluding unknown value)                                                                                                            Gross Value of Remaining Assets
                                                       $78,342.58                     $2,468.23                                            $2,468.23                 $0.00
                                     Case 17-11735-reg                   Doc 52 Filed 06/26/19                        Page 4 of 13                 Page No:     2
                                                                           FORM 1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                        Exhibit A
                                                                ASSET CASES
Case No.:                    17-11735-REG                                                            Trustee Name:                             Yvette Gaff Kleven
Case Name:                   BRITE, RYAN A                                                           Date Filed (f) or Converted (c):          09/07/2017 (f)
For the Period Ending:       5/21/2019                                                               §341(a) Meeting Date:                     10/12/2017
                                                                                                     Claims Bar Date:                          01/23/2018

                         1                                 2                      3                           4                         5                       6

                 Asset Description                     Petition/         Estimated Net Value              Property                Sales/Funds            Asset Fully
                  (Scheduled and                     Unscheduled        (Value Determined by              Abandoned              Received by the      Administered (FA) /
             Unscheduled (u) Property)                  Value                  Trustee,             OA =§ 554(a) abandon.            Estate             Gross Value of
                                                                       Less Liens, Exemptions,                                                         Remaining Assets
                                                                          and Other Costs)

    Major Activities affecting case closing:
      TFR to UST 5-21-19; once filed with the Court, notice out the same. 5/21/2019 dlehner
      Waiting on Orders for TT and Atty Comp; once received, prep TFR. 4/3/2019 dlehner
      ready for fee apps and TFR; 3/27/2019 ykleven
      dealing with claims issues; 3/13/19
      debtor propose payment plan; 12/18/18
      must surrender 2017 refunds; motion to turnover filed; 11/10/18
      must surrender 2017 refunds; need to file motion to turnover; 10/19/18
      must surrender refunds; 4/28/18
      investigating 2017 taxes ; must surrender bank and insurance; 11/20/17
      investigating 2017 taxes ; must surrender bank; object to amended exemptions; 11/6/17
      investigating 2017 taxes ; must surrender bank; need bank statement ; object to insurance exemption; 10/18/17


Initial Projected Date Of Final Report (TFR):            12/12/2018                                                    /s/ YVETTE GAFF KLEVEN
Current Projected Date Of Final Report (TFR):            12/12/2019                                                     YVETTE GAFF KLEVEN
                                                               Case 17-11735-reg           Doc FORM
                                                                                               52 Filed
                                                                                                     2 06/26/19                  Page 5 of 13                             Page No: 1                 Exhibit B
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         17-11735-REG                                                                                          Trustee Name:                            Yvette Gaff Kleven
 Case Name:                       BRITE, RYAN A                                                                                         Bank Name:                               Green Bank
Primary Taxpayer ID #:            **-***8500                                                                                            Checking Acct #:                         ******3501
Co-Debtor Taxpayer ID #:                                                                                                                Account Title:                           DDA
For Period Beginning:             9/7/2017                                                                                              Blanket bond (per case limit):           $42,291,316.00
For Period Ending:                5/21/2019                                                                                             Separate bond (if applicable):

       1                2                                3                                             4                                                        5                      6                    7

   Transaction       Check /                         Paid to/                  Description of Transaction                                Uniform           Deposit             Disbursement               Balance
      Date            Ref. #                      Received From                                                                         Tran Code            $                      $


08/15/2018                     Rabobank, N.A.                           Transfer Funds                                                   9999-000             $1,188.71                                         $1,188.71
08/31/2018                     Green Bank                               Bank Service Fee                                                 2600-000                                            $1.23            $1,187.48
12/27/2018            (16)     Ryan A. Brite                            Installment Payment                                              1224-000              $200.00                                        $1,387.48
01/08/2019            (16)     Ryan Brite                               Installment Payment                                              1224-000              $400.00                                        $1,787.48
01/25/2019            (16)     Ryan A. Brite                            Payment                                                          1224-000              $200.00                                        $1,987.48
02/14/2019            (16)     Ryan Brite                               Payment                                                          1224-000              $200.00                                        $2,187.48
03/06/2019            (16)     Ryan Brite                               Installment Payment                                              1224-000              $199.52                                        $2,387.00

                                                                                           TOTALS:                                                            $2,388.23                     $1.23             $2,387.00
                                                                                               Less: Bank transfers/CDs                                       $1,188.71                     $0.00
                                                                                           Subtotal                                                           $1,199.52                     $1.23
                                                                                               Less: Payments to debtors                                          $0.00                     $0.00
                                                                                           Net                                                                $1,199.52                     $1.23



                     For the period of 9/7/2017 to 5/21/2019                                                         For the entire history of the account between 08/15/2018 to 5/21/2019

                     Total Compensable Receipts:                          $1,199.52                                  Total Compensable Receipts:                                       $1,199.52
                     Total Non-Compensable Receipts:                          $0.00                                  Total Non-Compensable Receipts:                                       $0.00
                     Total Comp/Non Comp Receipts:                        $1,199.52                                  Total Comp/Non Comp Receipts:                                     $1,199.52
                     Total Internal/Transfer Receipts:                    $1,188.71                                  Total Internal/Transfer Receipts:                                 $1,188.71


                     Total Compensable Disbursements:                         $1.23                                  Total Compensable Disbursements:                                      $1.23
                     Total Non-Compensable Disbursements:                     $0.00                                  Total Non-Compensable Disbursements:                                  $0.00
                     Total Comp/Non Comp Disbursements:                       $1.23                                  Total Comp/Non Comp Disbursements:                                    $1.23
                     Total Internal/Transfer Disbursements:                   $0.00                                  Total Internal/Transfer Disbursements:                                $0.00
                                                               Case 17-11735-reg           Doc FORM
                                                                                               52 Filed
                                                                                                     2 06/26/19                  Page 6 of 13                             Page No: 2                   Exhibit B
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         17-11735-REG                                                                                          Trustee Name:                            Yvette Gaff Kleven
 Case Name:                       BRITE, RYAN A                                                                                         Bank Name:                               Rabobank, N.A.
Primary Taxpayer ID #:            **-***8500                                                                                            Checking Acct #:                         ******8166
Co-Debtor Taxpayer ID #:                                                                                                                Account Title:                           Checking Account
For Period Beginning:             9/7/2017                                                                                              Blanket bond (per case limit):           $42,291,316.00
For Period Ending:                5/21/2019                                                                                             Separate bond (if applicable):

       1                2                                3                                             4                                                        5                      6                      7

   Transaction       Check /                         Paid to/                  Description of Transaction                                Uniform           Deposit             Disbursement                 Balance
      Date            Ref. #                      Received From                                                                         Tran Code            $                      $


01/09/2018                     WALL LEGAL SERVICES ON BEHALF            PAYMENT                                                              *                $1,268.71                                           $1,268.71
                               OF RYAN BRITE
                      {5}                                                                                                   $685.13      1129-000                                                               $1,268.71
                      {12}                                                                                                  $583.58      1129-000                                                                 $1,268.71
01/31/2018                     Rabobank, N.A.                           Bank and Technology Services Fee                                 2600-000                                             $10.00            $1,258.71
02/28/2018                     Rabobank, N.A.                           Bank and Technology Services Fee                                 2600-000                                             $10.00            $1,248.71
03/30/2018                     Rabobank, N.A.                           Bank and Technology Services Fee                                 2600-000                                             $10.00            $1,238.71
04/30/2018                     Rabobank, N.A.                           Bank and Technology Services Fee                                 2600-000                                             $10.00            $1,228.71
05/31/2018                     Rabobank, N.A.                           Bank and Technology Services Fee                                 2600-000                                             $10.00            $1,218.71
06/29/2018                     Rabobank, N.A.                           Bank and Technology Services Fee                                 2600-000                                             $10.00            $1,208.71
07/31/2018                     Rabobank, N.A.                           Bank and Technology Services Fee                                 2600-000                                             $10.00            $1,198.71
08/15/2018                     Rabobank, N.A.                           Bank Service Fee                                                 2600-000                                             $10.00            $1,188.71
08/15/2018                     Green Bank                               Transfer Funds                                                   9999-000                                          $1,188.71                  $0.00

                                                                                           TOTALS:                                                            $1,268.71                    $1,268.71                  $0.00
                                                                                               Less: Bank transfers/CDs                                           $0.00                    $1,188.71
                                                                                           Subtotal                                                           $1,268.71                       $80.00
                                                                                               Less: Payments to debtors                                          $0.00                        $0.00
                                                                                           Net                                                                $1,268.71                       $80.00



                     For the period of 9/7/2017 to 5/21/2019                                                         For the entire history of the account between 01/08/2018 to 5/21/2019

                     Total Compensable Receipts:                          $1,268.71                                  Total Compensable Receipts:                                       $1,268.71
                     Total Non-Compensable Receipts:                          $0.00                                  Total Non-Compensable Receipts:                                       $0.00
                     Total Comp/Non Comp Receipts:                        $1,268.71                                  Total Comp/Non Comp Receipts:                                     $1,268.71
                     Total Internal/Transfer Receipts:                        $0.00                                  Total Internal/Transfer Receipts:                                     $0.00


                     Total Compensable Disbursements:                        $80.00                                  Total Compensable Disbursements:                                     $80.00
                     Total Non-Compensable Disbursements:                     $0.00                                  Total Non-Compensable Disbursements:                                  $0.00
                     Total Comp/Non Comp Disbursements:                      $80.00                                  Total Comp/Non Comp Disbursements:                                   $80.00
                     Total Internal/Transfer Disbursements:               $1,188.71                                  Total Internal/Transfer Disbursements:                            $1,188.71
                                                               Case 17-11735-reg      Doc FORM
                                                                                          52 Filed
                                                                                                2 06/26/19            Page 7 of 13                            Page No: 3                Exhibit B
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         17-11735-REG                                                                                Trustee Name:                           Yvette Gaff Kleven
Case Name:                       BRITE, RYAN A                                                                               Bank Name:                              Rabobank, N.A.
Primary Taxpayer ID #:           **-***8500                                                                                  Checking Acct #:                        ******8166
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                          Checking Account
For Period Beginning:            9/7/2017                                                                                    Blanket bond (per case limit):          $42,291,316.00
For Period Ending:               5/21/2019                                                                                   Separate bond (if applicable):

      1                 2                                3                                           4                                             5                       6                   7

  Transaction        Check /                         Paid to/                Description of Transaction                       Uniform           Deposit            Disbursement              Balance
     Date             Ref. #                      Received From                                                              Tran Code            $                     $




                                                                                                                                                                                NET            ACCOUNT
                                                                                       TOTAL - ALL ACCOUNTS                           NET DEPOSITS                         DISBURSE           BALANCES

                                                                                                                                                $2,468.23                      $81.23            $2,387.00




                     For the period of 9/7/2017 to 5/21/2019                                              For the entire history of the case between 09/07/2017 to 5/21/2019

                     Total Compensable Receipts:                         $2,468.23                        Total Compensable Receipts:                                      $2,468.23
                     Total Non-Compensable Receipts:                         $0.00                        Total Non-Compensable Receipts:                                      $0.00
                     Total Comp/Non Comp Receipts:                       $2,468.23                        Total Comp/Non Comp Receipts:                                    $2,468.23
                     Total Internal/Transfer Receipts:                   $1,188.71                        Total Internal/Transfer Receipts:                                $1,188.71


                     Total Compensable Disbursements:                       $81.23                        Total Compensable Disbursements:                                    $81.23
                     Total Non-Compensable Disbursements:                    $0.00                        Total Non-Compensable Disbursements:                                 $0.00
                     Total Comp/Non Comp Disbursements:                     $81.23                        Total Comp/Non Comp Disbursements:                                  $81.23
                     Total Internal/Transfer Disbursements:              $1,188.71                        Total Internal/Transfer Disbursements:                           $1,188.71




                                                                                                                          /s/ YVETTE GAFF KLEVEN
                                                                                                                          YVETTE GAFF KLEVEN
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                                                                                      CLAIM ANALYSIS REPORT                                        Page No: 1              Exhibit C


  Case No.                      17-11735-REG                                                                                    Trustee Name:              Yvette Gaff Kleven
  Case Name:                    BRITE, RYAN A                                                                                   Date:                      5/21/2019
  Claims Bar Date:              01/23/2018

 Claim               Creditor Name        Claim            Claim Class       Claim      Uniform    Scheduled    Claim        Amount        Amount           Interest        Tax            Net
  No.:                                    Date                              Status     Tran Code   Amount       Amount       Allowed        Paid                                        Remaining
                                                                                                                                                                                         Balance

         YVETTE GAFF KLEVEN            08/13/2018    Trustee                Allowed     2100-000        $0.00     $617.06      $617.06          $0.00            $0.00          $0.00      $617.06
                                                     Compensation
         111 W. Wayne Street
         Fort Wayne IN 46802
Claim Notes: Approved: 4-4-2019
        ADELSPERGER &                  04/02/2019    Attorney for Trustee   Allowed     3110-000        $0.00     $192.50      $192.50          $0.00            $0.00          $0.00      $192.50
        KLEVEN, LLP                                  Fees (Trustee Firm)
         111 West Wayne Street
         Fort Wayne IN 46802
Claim Notes: Approved: 4-4-2019
         YVETTE GAFF KLEVEN            04/02/2019    Trustee Expenses       Allowed     2200-000        $0.00     $155.20      $155.20          $0.00            $0.00          $0.00      $155.20
         111 W. Wayne Street
         Fort Wayne IN 46802
Claim Notes: Approved: 4-4-2019
     1   CENTRAL SOYA                   11/01/2017   General Unsecured §    Allowed     7100-000        $0.00    $7,474.54    $7,474.54         $0.00            $0.00          $0.00    $7,474.54
         FEDERAL CREDIT                              726(a)(2)
         UNION
          1200 N. 2nd Street
          Decatur IN 46733
     2   INDIANA                        11/28/2017   Claims of              Allowed     5800-000        $0.00    $1,380.49    $1,380.49         $0.00            $0.00          $0.00    $1,380.49
         DEPARTMENT OF                               Governmental Units
         REVENUE
          Bankruptcy Section - MS 108
          100 North Senate Avenue, N240
          Indianapolis IN 46204
    2a   INDIANA                        11/28/2017   Fines, Penalties §     Allowed     7300-000        $0.00     $130.00      $130.00          $0.00            $0.00          $0.00      $130.00
         DEPARTMENT OF                               726(a)(4)
         REVENUE
          Bankruptcy Section - MS 108
          100 North Senate Avenue, N240
          Indianapolis IN 46204
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                                                                                      CLAIM ANALYSIS REPORT                                        Page No: 2              Exhibit C


 Case No.                      17-11735-REG                                                                                     Trustee Name:              Yvette Gaff Kleven
 Case Name:                    BRITE, RYAN A                                                                                    Date:                      5/21/2019
 Claims Bar Date:              01/23/2018

Claim               Creditor Name        Claim           Claim Class         Claim      Uniform    Scheduled    Claim        Amount        Amount           Interest        Tax            Net
No.:                                     Date                               Status     Tran Code   Amount       Amount       Allowed        Paid                                        Remaining
                                                                                                                                                                                         Balance

    3   VERIZON                        12/15/2017   General Unsecured §     Allowed     7100-000        $0.00     $790.06      $790.06          $0.00            $0.00          $0.00      $790.06
                                                    726(a)(2)
        by American InfoSource LP as
        agent
        4515 N. Santa Fe Ave
        Oklahoma City OK 73118
    4   LVNV FUNDING, LLC              01/10/2018   Payments to             Allowed     7100-900        $0.00     $988.28      $988.28          $0.00            $0.00          $0.00      $988.28
                                                    Unsecured Credit
                                                    Card Holders
        Resurgent Capital Services
        PO Box 10587
        Greenville SC 29603-0587
    5   DYCK-O'NEAL, INC.              10/15/2018   Tardy General           Allowed     7200-000        $0.00    $8,342.60    $8,342.60         $0.00            $0.00          $0.00    $8,342.60
                                                    Unsecured § 726(a)(3)
        P.O. Box 601549
        Dallas TX 75360
                                                                                                                $20,070.73   $20,070.73         $0.00            $0.00          $0.00   $20,070.73
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                                                                             CLAIM ANALYSIS REPORT                                                 Page No: 3              Exhibit C


Case No.                      17-11735-REG                                                                                     Trustee Name:               Yvette Gaff Kleven
Case Name:                    BRITE, RYAN A                                                                                    Date:                       5/21/2019
Claims Bar Date:              01/23/2018


      CLAIM CLASS SUMMARY TOTALS

                                           Claim Class                          Claim            Amount        Amount                   Interest                Tax                Net
                                                                               Amount            Allowed        Paid                                                            Remaining
                                                                                                                                                                                 Balance


           Attorney for Trustee Fees (Trustee Firm)                               $192.50           $192.50            $0.00                   $0.00               $0.00               $192.50

           Claims of Governmental Units                                          $1,380.49         $1,380.49           $0.00                   $0.00               $0.00           $1,380.49

           Fines, Penalties § 726(a)(4)                                           $130.00           $130.00            $0.00                   $0.00               $0.00               $130.00

           General Unsecured § 726(a)(2)                                         $8,264.60         $8,264.60           $0.00                   $0.00               $0.00           $8,264.60

           Payments to Unsecured Credit Card Holders                              $988.28           $988.28            $0.00                   $0.00               $0.00               $988.28

           Tardy General Unsecured § 726(a)(3)                                   $8,342.60         $8,342.60           $0.00                   $0.00               $0.00           $8,342.60

           Trustee Compensation                                                   $617.06           $617.06            $0.00                   $0.00               $0.00               $617.06

           Trustee Expenses                                                       $155.20           $155.20            $0.00                   $0.00               $0.00               $155.20
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                                                                                             Exhibit D
                                TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:           3:17-BK-11735-REG
Case Name:          RYAN A BRITE
Trustee Name:       Yvette Gaff Kleven

                                                               Balance on hand:                    $2,387.00


         Claims of secured creditors will be paid as follows: NONE



                                           Total to be paid to secured creditors:                      $0.00
                                                            Remaining balance:                     $2,387.00

         Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                   Total          Interim           Proposed
                                                               Requested       Payments to          Payment
                                                                                     Date
Yvette Gaff Kleven, Trustee Fees                                  $617.06            $0.00             $617.06
Yvette Gaff Kleven, Trustee Expenses, Expenses                    $155.20            $0.00             $155.20
Adelsperger & Kleven, LLP, Attorney for Trustee                   $192.50            $0.00             $192.50
Fees


                          Total to be paid for chapter 7 administrative expenses:                    $964.76
                                                             Remaining balance:                    $1,422.24

         Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE



                       Total to be paid to prior chapter administrative expenses:                      $0.00
                                                             Remaining balance:                    $1,422.24

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $1,380.49 must be paid in advance of any dividend to general (unsecured)
creditors.

         Allowed priority claims are:

Claim No. Claimant                                         Allowed Amt.           Interim           Proposed
                                                                of Claim       Payments to          Payment
                                                                                     Date



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           2 Indiana Department of Revenue                          $1,380.49            $0.00      $1,380.49


                                                 Total to be paid to priority claims:              $1,380.49
                                                                Remaining balance:                    $41.75

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $9,252.88 have been allowed and will be
paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
allowed general (unsecured) dividend is anticipated to be 0.5 percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.           Interim       Proposed
                                                                    of Claim       Payments to       Amount
                                                                                         Date
           1 Central Soya Federal Credit Union                      $7,474.54            $0.00         $33.73
           3 Verizon                                                  $790.06            $0.00          $3.56
           4 LVNV Funding, LLC                                        $988.28            $0.00          $4.46


                                Total to be paid to timely general unsecured claims:                  $41.75
                                                                Remaining balance:                     $0.00

         Tardily filed claims of general (unsecured) creditors totaling $8,342.60 have been allowed and
will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
interest (if applicable).

         Tardily filed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.           Interim       Proposed
                                                                    of Claim       Payments to       Amount
                                                                                         Date
           5 Dyck-O'Neal, Inc.                                      $8,342.60            $0.00          $0.00


                       Total to be paid to tardily filed general unsecured claims:                     $0.00
                                                              Remaining balance:                       $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $130.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).




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        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows:

Claim No. Claimant                                      Allowed Amt.          Interim           Proposed
                                                             of Claim      Payments to           Amount
                                                                                 Date
          2a Indiana Department of Revenue                    $130.00              $0.00                $0.00


                                    Total to be paid for subordinated claims:                      $0.00
                                                          Remaining balance:                       $0.00




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